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               IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF KANSAS

DAVID W. BEATTIE and RHONDA BEATTIE,
                                   )
husband and wife;                  )
                                   )
                                   )
                  Plaintiffs,      )
                                   )                      Case No.
vs.                                )
                                   )
                                   )
THE WILLIAMS COMPANIES, INC.,      )
                                   )
                  Defendant.       )
__________________________________ )


                                     COMPLAINT
       COME NOW the plaintiffs, by and through their counsel, and for their

cause of action against the defendant, allege and state as follows:

       1.     The plaintiffs are residents of McPherson County, Kansas. They are

the title owners of real property (“the Land”) described as the Northwest Quarter

(NW/4) of Section Thirty-Two (32), Township Nineteen (19) South, Range Four

(4) and the North Half (N/2) of the Southwest Quarter (N/2 SW/4) West of the

Sixth Principal Meridian (6th P.M.), McPherson County, Kansas.
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      2.     The defendant, The Williams Companies, Inc., is a corporation

organized under the laws of the State of Delaware. It can be served with process

upon its registered agent, The Corporation Trust Company, Corporation Trust

Center, 1209 Orange Street, Wilmington, DE 19801.

      3.     This action involves a dispute between citizens of different states and

the amount in controversy is in excess of $75,000. Accordingly this Court’s

jurisdiction is invoked under 28 USC §1332. Venue is proper in this Court under

28 U.S.C. §1391(b) because a substantial part of the events giving rise to the claim

occurred in this judicial district.

      4.     The plaintiffs, after suffering numerous hardships, health issues and

discomfort, the loss of the use and enjoyment of their home, and damages to their

farm operations, crops, and real and personal property relating to defendant’s

brine ponds adjacent to the Land, negotiated a settlement agreement with

defendants for the release of all claims as well as the sale of the Land,

improvements and personal property thereon to defendants.

      5.     The parties agreed to all material terms, which terms were evidenced

in writing in electronic messages and a draft, written agreement.

      6.     In settlement of all claims by plaintiffs relating to the defendant’s

brine ponds, the defendant agreed to purchase the Land (240 acres) for ten

thousand dollars ($10,000.00) per acre or two million four hundred thousand

dollars ($2,400,000.00) payable over three years, the residences on the north 80

acres for five hundred thousand dollars ($500,000.00), and the barns, sheds,
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shops and equipment on the north 80 acres for two hundred thousand dollars

($200,000.00), for a total sum of three million one hundred thousand dollars

($3,100,000.00).

      7.    Fee title to the Land is vested in plaintiffs.

      8.    Defendant has reneged on its agreement.

      9.    Plaintiffs seek to enforce the settlement agreement.

      WHEREFORE, plaintiffs pray for specific performance of the settlement

agreement; for judgment against defendant in the amount of three million one

hundred thousand ($3,100,000.00), together with interest and such other and

further relief as the Court deems just and equitable.


                                Respectfully submitted,

                                DEPEW GILLEN RATHBUN & MCINTEER LC


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                                Attorneys for Plaintiffs




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                     DESIGNATION OF PLACE OF TRIAL

              COME NOW the plaintiffs and designate Wichita, Kansas, as the

place of the trial of this action.

                                     Respectfully submitted,

                                     DEPEW GILLEN RATHBUN & MCINTEER LC

                                     s/Randall K. Rathbun
                                     Randall K. Rathbun #09765
                                     Attorneys for Plaintiffs




                           DEMAND FOR JURY TRIAL

       COME NOW the plaintiffs and respectfully request a trial by jury with

regard to the above-captioned action.


                                     Respectfully submitted,

                                     DEPEW GILLEN RATHBUN & MCINTEER LC


                                     s/Randall K. Rathbun
                                     Randall K. Rathbun, #09765
                                     Attorneys for Plaintiffs




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